USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 1 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 2 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 3 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 4 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 5 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 6 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 7 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 8 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 9 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 10 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 11 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 12 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 13 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 14 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 15 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 16 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 17 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 18 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 19 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 20 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 21 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 22 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 23 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 24 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 25 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 26 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 27 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 28 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 29 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 30 of 31
USDC IN/ND case 4:04-cv-00075-AS   document 630   filed 03/30/09   page 31 of 31
